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                              IN THE DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 WESTERN DIVISION


 National Institute of Family and Life
 Advocates, et al.,
                                                                 Case No. 16-cv-50310
                 Plaintiffs,
                                                                 Hon. Iain D. Johnston
         v.
                                                                 Magistrate Judge Lisa A. Jensen
 Mario Treto Jr.,

                 Defendant.


 Ronald Schroeder, et al.,

                 Plaintiffs,                                     Case No. 17-cv-4663

         v.                                                      Hon. Iain D. Johnston

 Mario Treto Jr.,                                                Magistrate Judge Lisa A. Jensen

                 Defendant.


                           ORDER TO CONSOLIDATE FOR TRIAL

        Under Federal Rule of Civil Procedure 42(a)(1), the Court grants Defendant’s Agreed

Motion to Consolidate for Trial (NIFLA Dkt. 240; Schroeder Dkt. 209) and consolidates National

Institute of Family & Life Advocates v. Treto (16-cv-50310) and Schroeder v. Treto (17-cv-4663)

for the final pretrial order, trial, and post-trial submissions. The Court further provides that:

1.      This order will not impede the ability of Plaintiffs’ counsel to effectively represent their

        respective clients, including their ability to present non-cumulative evidence, or separate

        proposed findings of fact and conclusions of law, or to file separate motions, briefs, and

        papers, as needed to effectively represent their respective clients;
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2.      Due to the consolidation of these cases for the identified stages of the litigation, all of the

        Plaintiffs will be entitled to rely upon the objections to evidence advanced by any of

        Plaintiffs’ counsel as well as the cumulative evidentiary proffer of the “Plaintiffs’ side”;

        and

3.      This order does not preclude the Defendant from requesting that the Court set limits on

        post-trial submissions, including the right to request joint submissions from Plaintiffs as

        the Court deems appropriate.




Date: August 22, 2023                  By:     __________________________________________
                                               Iain D. Johnston
                                               United States District Judge




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